              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                      Plaintiff,
                                               Case No. 96-CR-04-1-JPS
 v.

 JERRY WALKER,
                                                             ORDER
                      Defendant.


1.     INTRODUCTION

       Before the Court are Defendant Jerry Walker’s alternative requests

for a sentence reduction or compassionate release under two separate

provisions of the First Step Act. Mr. Walker argues that the Court is

authorized to revisit his sentence, and implement the Fair Sentencing Act’s

mandate to correct sentencing disparities between crack and powder

cocaine offenses, because his continuing criminal enterprise (CCE)

conviction, which was predicated in part on crack cocaine-related conduct,

is a covered offense under Section 404 of the First Step Act. ECF No. 621. As

an alternative or additional basis for eligibility, Mr. Walker argues that his

age, health condition, and past COVID-19 diagnosis put him at higher risk

for severe illness should he remain incarcerated, and so make him a

candidate for compassionate release. ECF No. 625. He further argues that,

if found eligible for consideration on either basis, he is entitled to relief

because    his    post-sentencing    conduct     demonstrates      significant

rehabilitation, such that sentence modification or early release is

appropriate. ECF Nos. 621 and 625. The United States contests Mr. Walker’s




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eligibility for relief under both Section 404 and the compassionate release

vehicle, as well as his entitlement to resentencing.

       Mr. Walker’s motion is now fully briefed. ECF Nos. 621, 625, 626,

632, 634, 635, 637, 640, 641.1 Upon consideration of the parties’ submissions,

the Court must deny Mr. Walker’s motion for sentence reduction pursuant

to Section 404 of the First Step Act, ECF No. 621, because it finds that the

CCE offense for which Mr. Walker is currently incarcerated is not a covered

offense for purposes of the Fair Sentencing Act and First Step Act. The

Court is also obliged deny Mr. Walker’s motion for compassionate release,

ECF No. 625, because the Court finds that his health circumstances do not

amount to an extraordinary and compelling reason warranting his release.




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        Mr. Walker filed his opening Section 404 motion on November 18, 2020.
ECF No. 621. The Court issued a briefing schedule on December 9, 2020, giving the
United States until December 23, 2020 to respond. ECF No. 623. On December 15,
2020, Mr. Walker supplemented his initial motion with an additional filing, styled
as a “Status Report re Emergency Motion for Compassionate Release,” invoking
his recent COVID-19 diagnosis and Section 603 of the First Step Act, the
compassionate release provision, as an additional basis for his release from
incarceration. ECF No. 625.
         The government responded to Mr. Walker’s initial Section 404 motion on
December 22, 2020, ECF No. 626, and to his second filing on April 1, 2021, ECF No.
634. Mr. Walker replied to the government’s briefs on, respectively, March 25,
2021, ECF No. 632, and on April 1, 2021, ECF No. 635. The United States updated
its filing regarding Mr. Walker’s compassionate release motion on August 5, 2021,
ECF No. 637. Mr. Walker filed a reply to this filing, advancing arguments on his
Section 404 claim as well as his compassionate release claim, on August 10, 2021,
ECF No. 640. Mr. Walker additionally brought supplemental authority on the
issue of Section 404 eligibility to the Court’s attention on September 8, 2021. ECF
No. 641.
       Although the procedural propriety of some of these submissions is unclear,
the parties do not dispute this issue; in the interest of addressing all of Mr.
Walker’s claims with finality, the Court has considered all submissions.


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2.     FACTUAL BACKGROUND

       2.1      Criminal History

       In 1996, Mr. Walker was charged with:

       •     Eight counts of possession with the intent to distribute cocaine,
             in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2;

       •     One count of conspiracy to distribute “in excess of 500 grams of
             cocaine,” in violation of 21 U.S.C. §§ 841(a)(1) and 846 and 18
             U.S.C. § 2;

       •     One count of engaging in a continuing criminal enterprise (CCE),
             on the basis of “but not limited to” (1) his involvement in the
             aforementioned conspiracy and possession counts; (2) Walker’s
             position as “organizer, supervisor, and manager” of these
             activities; and (3) his receipt of substantial income from these
             activities, in violation of 21 U.S.C. § 848; and

       •     One count of money laundering, in violation of 18 U.S.C.
             §§ 1956(a)(1)(B)(i) and (a)(2).

ECF No. 621-3 (reproducing ECF No. 36, Superseding Indictment). His

eight codefendants faced varying combinations of these charges.

       Mr. Walker’s case was originally assigned to Judge Rudolph T.

Randa, who presided over the subsequent jury trial. On November 14, 1996,

a jury convicted Mr. Walker on all eleven counts. ECF No. 213. The trial

garnered considerable public attention. See, e.g., ECF No. 239 (Milwaukee

Journal Sentinel’s petition to access court records as to three defendants

including Mr. Walker). Some details about how the government

characterized the drugs that served as the basis for Mr. Walker’s

prosecution and conviction are relevant to how he has argued his eligibility

for sentence reduction, and accordingly are included here.

       The criminal complaint names “possess[ion] with intent to distribute

cocaine base,” i.e., crack cocaine, as the basis for Mr. Walker’s arrest. ECF

No. 632-3 at 1; see also ECF No. 1. In the complaint, a DEA agent states that


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on three occasions in November 1995 he witnessed a confidential informant

purchase drugs—interchangeably referred to as “crack,” “crack cocaine,”

and/or “cocaine”—from Mr. Walker. ECF No. 632-3 at 2–3. However, these

specific references to crack cocaine did not appear in the government’s

formal charging document. Counts One and Three to Ten of the

Superseding    Indictment     charged    Mr.   Walker    with,   respectively,

“conspir[acy] … to possess with intent to distribute in excess of 500 grams

of cocaine” and “possession with intent to distribute cocaine.” ECF No. 621-

3 at 3, 5. Count Two of the Superseding Indictment—the CCE charge—

incorporated all the other charged counts by reference but did not identify

any particular drugs or drug quantities as the basis for the charge. Id. at 4.

       At trial, it appears that the government introduced the crack cocaine

sold during the aforementioned confidential informant transactions as

evidence of the defendants’ guilt as to Counts Eight, Nine, and Ten of the

Superseding Indictment—all charges of possession with intent to distribute

cocaine. See ECF No. 632-4 at 2–3 (reproducing government’s response to

codefendant Roy Evans’s motion for judgment of acquittal). These

particular crack cocaine transactions apparently totaled four ounces. See id.

at 2. However, the government apparently did not request any specific jury

findings as to the drug types or quantities involved in any of the charged

offenses. ECF No. 621 at 5.

       Judge Randa presided over the sentencing phase of the case, at

which time the government again referenced Mr. Walker’s involvement in

these three crack cocaine transactions, totaling four ounces. See ECF No.

632-2 at 11 (reproducing government’s response to Defendant’s objections

to the Pre-Sentencing Report, with government stating that “[s]mall

quantities of cocaine and crack were sold out of Walker’s drug houses”);


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ECF No. 632-5 at 14–15 (reproducing Pre-Sentencing Report that references

Mr. Walker’s selling to a confidential informant one ounce of crack on

November 2, 1994, one ounce of crack on November 2, 1995, and two ounces

of crack on November 14, 1995).

       At sentencing, Judge Randa attributed at least 150 kilograms of

cocaine to Walker. ECF No. 621 at 5; see also ECF No. 632-5 at 15. No judicial

finding was made as to any crack cocaine amounts. ECF No. 621 at 5. Mr.

Walker was subject to a pre-Booker mandatory guideline life sentence on the

CCE and conspiracy counts. ECF Nos. 621 at 6 and 632-5 at 1. This guideline

was the result of his criminal history category of IV and his total offense

level of 46, adjusted upward from his base offense level of 38 due to the use

of a gun, his leadership role, and efforts to obstruct justice. ECF Nos. 621 at

5, 626 at 4, and 632-5 at 21. In setting the sentence, Judge Randa additionally

took notice of an uncharged offense—Mr. Walker’s alleged execution-style

killing of a teenager named Michael Ware—and found this accusation more

likely than not true. ECF Nos. 626 at 3–4 and 626-2 at 3. Ultimately, Judge

Randa imposed life sentences for both the CCE and conspiracy counts, and

240-month sentences for each of the drug and money laundering counts, all

to run concurrently. ECF 322 at 3.

       Mr. Walker has pursued many avenues to have his conviction and

confinement revisited. He directly, and successfully, appealed his

conspiracy conviction pursuant to Rutledge v. United States, 517 U.S. 292

(1996), which held that a conspiracy charge is a lesser included offense of a

CCE charge. See ECF No. 324; ECF No. 626 at 5. In October 1998, the Seventh

Circuit agreed and vacated Mr. Walker’s conspiracy charge. ECF No. 412.

Mr. Walker filed a petition for habeas relief under 28 U.S.C. § 2255, arguing

ineffective assistance of counsel, which Judge Randa denied. ECF No. 471.


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He also filed a motion arguing that Amendment 782 to the United States

Sentencing Guidelines entitled him to a reduced sentence, which Judge

Randa also denied because the changed sentencing guidelines did not affect

Mr. Walker’s applicable guideline range. ECF No. 571.

      After Judge Randa’s death, Mr. Walker’s case was reassigned to this

Court in 2017. Soon after, the Court amended its judgment to reflect the

1998 dismissal of the conspiracy charge. ECF No. 594. Mr. Walker

subsequently moved this Court to conduct a full resentencing, but the Court

declined to do so, and the Seventh Circuit declined to hear any further

argument. ECF Nos. 609 and 610. According to his memoir, “Dear

Milwaukee:    Letters   2016–2020,”   he   also   petitioned   the   Obama

administration for an executive pardon in 2016, with an endorsement from

the Assistant United States Attorney who led his prosecution, but his

request was denied. ECF 621-6 at 16–23.

      Mr. Walker has been in federal custody since December 1995 and has

served about 27 years of his life sentence. ECF No. 626 at 5. Because Mr.

Walker’s conspiracy count was vacated and the 240-month concurrent

sentences on his remaining drug convictions have all run their course, his

CCE conviction and life sentence under 21 U.S.C. § 848, Count 2 in the

Superseding Indictment, is the sole basis for his continued confinement.

ECF Nos. 621 at 6 and 626 at 5. He is currently imprisoned at Pekin Federal

Correctional Institution (“FCI Pekin”). ECF 625 at 2.

      2.2    Post-Sentencing Rehabilitation

      Mr. Walker has provided the Court with extensive documentation of

his character growth since his term of incarceration began, and his future

plans and support network if granted relief. Specifically, he points to his

lack of disciplinary infractions while imprisoned; his participation in


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educational programs; statements of support by correctional staff and

peers; and his prospects for work and community engagement on reentry.

      Mr. Walker first notes that, over the 27+ years that he has been in

prison, he “has not received a single disciplinary infraction.” ECF No. 621

at 2. In a 2016 review of his performance in the prison work program, his

supervisor ranked him either “good” or “outstanding” in all areas. ECF No.

621-2 at 18. He gives myriad examples of how he has dedicated his time of

incarceration to personal growth, earning various educational and

professional credentials, awards, and honors. He completed just shy of 300

hours of training to become a Certified Associate Addictions Professional,

a credential that allows him to “compete for an entry level position in the

field of addiction and recovery treatment.” ECF No. 621 at 15. He earned

his GED while in prison. ECF No. 621-4 at 4–5. He went on to earn a

certificate in business management from Illinois Central College in 2010,

and during one semester earned a 4.0 GPA and a spot on the President’s

Honor List. ECF No. 621 at 16. The list of programs he has completed spans

four pages and includes titles such as “Parenting from a Distance,” “Anger

Management,” “Confronting Addictions,” “Effective Communication,”

“Reintegration: The Real World, Everyday Life,” “Career Preparation,” and

“Start Your Own Business,” ECF No. 621-4 at 2–5.

      Mr. Walker’s growth and character is also reflected in the

observations of BOP staff who supervise him and of his peers and loved

ones both inside and outside of prison. Fifteen BOP staff wrote in support

of Mr. Walker’s 2016 request for executive clemency, and Mr. Walker

enclosed their letters with his motion. ECF No. 621-2 at 2–17. For example,

his housing supervisor Lance Leitner, who has twenty years’ experience

working for the BOP, states that Mr. Walker


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      perform[s] his assigned duties with a degree of pride not
      normally seen here. . . . Mr. Walker is without question one of
      the most respectful, polite and genuine men I have
      supervised . . . From my personal interactions with him I
      sense a remorseful man who takes complete responsibility for
      the actions which led him to this juncture in his life.

ECF No. 621-2 at 7–8. Similarly, nearly 60 of Mr. Walker’s family, friends,

and community peers (including some of his codefendants in this federal

prosecution) wrote letters expressing support for his release. See generally

ECF No. 621-5. These letters highlight Mr. Walker’s dedication to his

children, potential to serve as a positive influence in his community, and

character for kindness and generosity. Id.

      In addition to social support from his supervisors, peers, and loved

ones, Mr. Walker has submitted evidence of a thoughtful reentry plan

should he be released. He has secured an offer of full-time employment

with Hawthorne Developments, LLC, ECF No. 621 at 17, and of prospective

speaking engagements with a nonprofit organization specializing in

addiction recovery, ECF No. 640-2. Finally, Mr. Walker demonstrates

efforts to internalize the gravity of his crimes and repair the harm he has

done. He has written “letters of contrition and reflection” and candid

commentary about his life choices in his book “Dear Milwaukee: Letters

2016–2020.” ECF No. 621 at 17. Mr. Walker says in his own words, in an

audio recording submitted along with his reply brief, that on release he

hopes to connect with youth at risk of criminal behavior as a way to “help

clean up some of the mess [he’s] done in life.” ECF No. 636.

      2.3    Defendant’s Age, Health Conditions, and the COVID-19
             Pandemic

      Mr. Walker tested positive for COVID-19 in December 2020. ECF No.

625 at 2. In January 2021, he was designated “recovered” by prison staff.


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ECF No. 632 at 15. However, in March 2021, he stated to his attorneys that

he continued to experience “body soreness, chills, debilitating headaches,

and shortness of breath.” Id. At the time he tested positive, he was 54 years

old. ECF No. 625 at 2. He suffered “a stroke 10 years ago that permanently

damaged his verbal communication,” and has “fluctuating blood

pressure.” ECF No. 632 at 16. He contends that because of his age and

underlying condition(s), he is at risk for severe illness should he contract

COVID-19 again, and for other health complications associated with the

virus. Id.

       As of February 17, 2023, FCI Pekin reports one active inmate case

and one active staff case of COVID-19.2 There have been no inmate or staff

deaths from the virus; 741 inmates, including Mr. Walker, have recovered

from the virus.3 As of May 11, 2021, Mr. Walker had received both doses of

the Moderna vaccine. ECF No. 637. Neither party has updated the Court as

to whether he has received a booster dose.

3.     LEGAL STANDARD

       3.1       Eligibility for First Step Act Section 404 Sentence Reduction

       In 2010, Congress passed the Fair Sentencing Act. Pub. L. No. 111-

220, 124 Stat. 2372 (2010). The act was intended to reduce the disparity

between sentences for powder and crack cocaine offenses. Dorsey v. United

States, 567 U.S. 260, 268–69 (2012). To do so, the act greatly increased the

quantities of crack cocaine needed to trigger progressively harsher

statutory penalties. See 124 Stat. 2372 § 2–3.4 Congress later passed the First


       2 Fed.     Bureau         Prisons,         COVID-19         Coronavirus,
https://www.bop.gov/coronavirus/ (last visited Feb. 17, 2023).
       3   Id.
       4“[T]he Fair Sentencing Act changed the quantity [of crack cocaine] that
triggers certain penalties of imprisonment. Under § 841(b)(1)(A), the threshold

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Step Act of 2018, which made it possible for already-sentenced defendants

to request that district courts retroactively apply the penalty modifications

of the Fair Sentencing Act to their case. Pub. L. No. 115-391, 132 Stat. 5194

§§ 404(a)–(b) (2018) (“Section 404”); see also 18 U.S.C. § 3582(c)(1)(B) (courts

cannot modify a term of imprisonment once imposed except where

expressly permitted by statute). The Seventh Circuit has noted the First Step

Act’s “remedial purpose . . . of addressing disparities in sentencing.” United

States v. Fowowe, 1 F.4th 522, 532 (7th Cir. 2021).

       The Court must consider a defendant’s motion for Section 404 relief

in two steps: eligibility and entitlement. United States v. Shaw, 957 F.3d 734,

736 (7th Cir. 2020) (“First, may the court reduce the sentence? And second,

should the court reduce the sentence?”). Eligibility for a Section 404

sentence reduction requires that 1) the defendant’s sentence was imposed

for a “covered offense” whose statutory penalties were modified by the Fair

Sentencing Act; 2) the defendant committed the offense that is the basis of

his sentence and confinement before August 3, 2010; 3) the defendant was

not already sentenced or resentenced under the provisions of the Fair

Sentencing Act; and 4) the motion in question is the defendant’s first First

Step Act motion to be reviewed on its merits. § 404(a), (c), 132 Stat. 5194.

       3.2    Eligibility for Compassionate Release

       Mr. Walker additionally seeks sentence modification under a

separate provision of the First Step Act, the “compassionate release”

provision. See P.L. 115-391, 132 Stat. 5194 (2018) at § 603. Such motions



quantity increased from 50 grams to 280 grams; and under § 841(b)(1)(B), the
threshold quantity increased from 5 grams to 28 grams. These changes reflected a
recognition that the tremendous disparities in punishment of powder-cocaine and
crack-cocaine offenses disparately impacted African Americans.” Shaw, 957 F.3d
at 737.

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include a procedural exhaustion requirement. The Court can modify a term

of imprisonment “upon motion of the defendant after the defendant has

fully exhausted all administrative rights to appeal a failure of the Bureau of

Prisons to bring a motion on the defendant’s behalf” or thirty days after the

warden at the defendant’s facility has received such a request for release,

“whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A).

       In   addition   to   administrative     exhaustion,    eligibility   for

compassionate release requires a showing of “extraordinary and

compelling reasons warrant[ing] such a reduction[.]” Id. § 3582(c)(1)(A)(i).

       While § 3582(c)(1)(A) instructs that a reduction must also be

“consistent with applicable policy statements issued by the [United States]

Sentencing Commission,” this circuit recently held that the relevant policy

statement, U.S.S.G. § 1B1.13, is inapplicable to prisoner-initiated motions

for compassionate release. United States v. Gunn, 980 F.3d 1178, 1180

(7th Cir. 2020). Therefore, a court has discretion when determining what

constitutes an “extraordinary and compelling” reason warranting

compassionate release. Id. (“[T]he trailing paragraph of § 3582(c)(1)(A) does

not curtail a district judge’s discretion. Any decision is ‘consistent with’ a

nonexistent policy statement.”). A district court may also “make the same

determinations that would normally be left to the Director of the Bureau of

Prisons [under the catchall provision at U.S.S.G. § 1B1.13 n.1(D)].” United

States v. Brown, Case No. 01-CR-196-JPS, 2020 WL 4569289, at *4 (E.D. Wis.

Aug. 7, 2020). Yet, this Court will evaluate prisoner-initiated motions for

compassionate release with due regard for the guidance provided in

§ 1B1.13 because it “provide[s] a working definition of ‘extraordinary and

compelling reasons’ . . . [which] can guide discretion without being

conclusive.” Gunn, 980 F.3d at 1180; see also United States v. Mays, Case No.


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1:08-cr-00125-TWP-DML, 2020 WL 7239530, at *3 (S.D. Ind. Dec. 9, 2020)

(evaluating compassionate motions brought under the “extraordinary and

compelling” prong of § 3582(c)(1)(A) with “due regard” for § 1B1.13).

       The commentary to the Sentencing Guidelines explains that

“extraordinary and compelling reasons exist” when “[t]he defendant is

suffering from a terminal illness, (i.e., a serious and advanced illness with

an end of life trajectory),” such as cancer or advanced dementia.

U.S.S.G. § 1B1.13 n.1.(A)(i). The commentary also considers a defendant’s

medical condition to be an extraordinary and compelling reason if:

       [t]he defendant is suffering from a serious physical or mental
       condition, suffering from a serious functional or cognitive
       impairment, or experiencing deteriorating physical or mental
       health because of the aging process, that substantially
       diminishes the ability of the defendant to provide self-care
       within the environment of a correctional facility and from
       which he or she is not expected to recover.

Id. § 1B1.13 n.1.(A)(ii).

       3.3     Entitlement to Relief

       After determining a defendant is eligible for resentencing, prior to

modifying a term of imprisonment under either Section 404 of the First Step

Act or the compassionate release vehicle, the Court must also consider the

sentencing factors set forth in 18 U.S.C. § 3553(a), if applicable. 18 U.S.C.

§ 3582(c)(1)(A); see also Shaw, 957 F.3d at 740. Pursuant to § 3553(a), when

determining the sentence to be imposed, the Court shall consider, among

other things: the nature and circumstances of the offense; the defendant’s

history and characteristics; and the need for the sentence to (1) reflect the

seriousness of the offense, promote respect for the law, and provide just

punishment, (2) afford adequate deterrence, (3) protect the public, and

(4) provide the defendant with effective training, care, and/or treatment.


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4.     ANALYSIS

       4.1     Eligibility for First Step Act Section 404 Sentence Reduction

       The crux of the parties’ disagreement is whether Mr. Walker’s CCE

conviction under 21 U.S.C. § 848 is a “covered offense” whose statutory

penalties the Fair Sentencing Act modified.5 Mr. Walker argues that his CCE

conviction is a covered offense because the Fair Sentencing Act modified

the statutory penalty for at least one subsection of § 848—it raised the

quantity of crack cocaine needed to trigger a mandatory life sentence under

§ 848(b)(2)(A), which incorporates 21 U.S.C. § 841(b)(1)(B). ECF No. 621 at

9–10 (citing United States v. Moore, No. 95 CR 509-2, 2020 WL 4748154 (N.D.

Ill. Aug. 17, 2020) and arguing district courts may construe § 848, as a whole,

as the defendant’s statute of conviction). In other words, Mr. Walker argues

that, even if he was not himself explicitly charged or convicted under

§ 848(b)(2)(A), he was charged and convicted under § 848, for which the

Fair Sentencing Act modified at least one penalty. He further argues that

his offense is a covered offense because his CCE charge incorporated by

reference and “involved multiple crack transactions” and his conviction

thereto was partially secured through presentation of crack cocaine

evidence. Id. at 9 (citing Hall v. United States, No. 2:93-CR-162-RAJ (E.D. Va.

Mar. 2, 2020); ECF No. 632 at 1, 4–11, 13; see also id. at 4 (“If Walker’s CCE

offense involved cocaine base, also a form of cocaine, then he is eligible for

First Step Act relief.”).

       The Government counterargues that Mr. Walker “was convicted

only of offenses involving cocaine” and—since the Fair Sentencing Act did

not alter the amount of powder cocaine required to trigger the revised


       5Indeed, the parties do not dispute any of the other three requirements for
Section 404 eligibility. See § 404(a), (c), 132 Stat. 5194.

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statutory penalty ranges—he “has not been convicted of a covered offense.”

ECF No. 626 at 6. The Government concedes that “there is some evidence

of a small amount of crack cocaine involved in the conspiracy,” but

emphasizes that “no offenses involving crack cocaine are charged in the

indictment,” and urges the Court to conclude Mr. Walker is First Step Act-

ineligible. Id.

       Mr. Walker replies that the fact that crack cocaine was part of the

underlying factual basis for his prosecution—despite not being charged or

convicted as such—means his CCE conviction is First Step Act eligible,

because crack and powder cocaine are “two forms of the same drug,” ECF

No. 632 at 2–3 (citing Kimbrough v. United States, 552 U.S. 85, 94 (2007) and

United States v. Kelly, 519 F.3d 355, 359 (7th Cir. 2008)). He argues that to

hold otherwise would require the Court to “make an erroneous and

unsupported finding that powder cocaine was the sole drug charged in

Count 2” and “make a new post-conviction drug finding to limit Mr.

Walker’s First Step Act eligibility.” Id. at 4. Mr. Walker offers supplemental

authority that shows the Government apparently conceding that, before

Apprendi v. New Jersey, 530 U.S. 466 (2000), use of the umbrella term

“cocaine” in charging documents did not necessarily mean the offense did

not involve crack cocaine or exclusively involved powder cocaine;

therefore, “the failure to charge a specific type or amount of cocaine does

not categorically exempt a defendant from First Step Act eligibility.” ECF

No. 641 at 3 (citing and discussing Appellee Brief, United States v. Saldana,

Nos. 20-14490-HH and 21-10634-HH (11th Cir. Aug. 19, 2021), ECF No. 28).

       The Court preliminarily turns to identifying the starting point for

determining Mr. Walker’s eligibility to be considered for resentencing. The

Seventh Circuit held in 2020 that, in determining whether a defendant’s


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conviction is for a “covered offense” whose statutory penalties the Fair

Sentencing Act modified, “the statute of conviction alone”—not the

defendant’s particular violation of that statute—controls the question of

that defendant’s eligibility for consideration. Shaw, 957 F.3d at 739. Both

parties argue under the Shaw standard about whether 21 U.S.C. § 848 is a

covered offense and, relatedly, about how the fact that his CCE conviction

under this statute was not charged as a crack cocaine offense but was, to

some extent, proven with crack cocaine evidence, pertains to his eligibility

for resentencing. However, Supreme Court case law that post-dates most of

the briefing in this case casts new light on Shaw’s approach to eligibility.

The Court therefore closely examines those cases together.

      Shaw was the consolidated appeal of four defendants who were

convicted of possession with intent to distribute or conspiracy offenses

involving amounts of crack cocaine that exceeded both the original

statutory thresholds and the post-Fair Sentencing Act increased thresholds

that triggered mandatory minimum penalties. Id. at 738 (noting that two

defendants possessed 33.8 and 32.7 grams of crack, which “exceeded the 28-

gram threshold,” and two conspired to distribute 2.91 kilograms and 8.4

kilograms, also “well over the 280-gram threshold”); see also supra note 4.

The Seventh Circuit rejected the government’s contention that the

defendants were ineligible for resentencing under the Fair Sentencing Act,

as made retroactively applicable by the First Step Act, “because the

quantities of crack involved in each defendant’s offense exceeded the new

quantity thresholds set by the Fair Sentencing Act.” Id.

      In the appellate court’s view, it did not matter that the defendants—

if sentenced at present and considering the crack cocaine amounts involved

in their offenses—would still have been subject to the same mandatory


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minimum penalty under the same statutes as they would have been before

the Fair Sentencing Act amended the mandatory-minimum threshold

amounts in those statutes. See id. at 738–40. These defendants were eligible

to be considered for resentencing because (1) their offenses involved crack

cocaine and (2) the statutes under which they were convicted, and

moreover the penalties authorized by those statutes relative to the amounts

of crack cocaine involved, were modified by the Fair Sentencing Act and

the First Step Act. See id. In reaching this conclusion, the Seventh Circuit

also rejected conducting a “fact-specific inquiry into the particular

circumstances of the offense” to determine eligibility for resentencing

pursuant to the Fair Sentencing Act and the First Step Act. Id. at 739.

Instead, the appellate court concluded that “the Fair Sentencing Act

modified the penalties for crack offenses as a whole, not for individual

violations,” id., and therefore adopted a categorical and decidedly more

comprehensive approach to determining eligibility for resentencing.6



       6 The Seventh Circuit extended this approach in a subsequent case where it
reversed a district court’s conclusion that a defendant, who was charged with and
convicted of possessing with intent to distribute 0.5 grams of crack cocaine, was
ineligible for resentencing. United States v. Hogsett, 982 F.3d 463, 468 (7th Cir. 2020)
(“[T]he Fair Sentencing Act modified the statutory penalties for § 841(b)(1)(C), so
all convictions under that subsection—regardless of whether they are subject to a
different penalty range—are ‘covered offenses.’”). To reach that result, the Seventh
Circuit concluded that the defendant’s statute of conviction was modified by the
Fair Sentencing Act because, although the statute applied to offenses involving
unspecified amounts of crack, after the Act, it “began—for the first time—to cover
convictions involving quantities between 5 grams and 28 grams.” Id. at 467 (also
reasoning that “we do not think that a modification must be limited to solely
textual alterations; instead, any moderate change[] . . . will suffice” (internal
citation and quotation marks omitted)). In other words, the Hogsett court embraced
what could be described as a modification-by-extension approach. However, the
opinion was later vacated and this approach was rejected. See United States v.
Hogsett, 850 F. App’x 452 (7th Cir. 2021) (vacating prior reversal and affirming
district court’s denial of Hogsett’s eligibility and motion in light of Terry).

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       A little over a year after the Shaw decision, on June 14, 2021, the

Supreme Court decided Terry v. United States. 593 U.S. ____, 141 S. Ct. 1858

(2021). Terry concerned a defendant who was charged with and pleaded

guilty to possession with intent to distribute an unspecified amount of crack

cocaine, an offense under 21 U.S.C. § 841(a); at sentencing, the district court

determined that his offense involved about four grams of crack. 141 S. Ct.

at 1861. Under 21 U.S.C. § 841(b)(1)(C), this offense did not carry a

mandatory minimum term of imprisonment. Id. at 1860–61. When the

defendant sought resentencing pursuant to the Fair Sentencing Act and the

First Step Act, the district court held, and the Eleventh Circuit affirmed, that

he was ineligible for such relief because “offenders are eligible for a

sentence reduction only if they were convicted of a crack offense that

triggered a mandatory minimum,” and defendant did not fall into that

category. Id. at 1862.

       The Supreme Court unanimously agreed, with Justice Sotomayor

concurring in part and concurring in the judgment, and affirmed. To reach

this result, the Court, in an opinion by Justice Thomas, first examined the

plain language of the First Step Act, which defines a “covered offense” (i.e.

offenses eligible for retroactive application of the Fair Sentencing Act) as “‘a

violation of a Federal criminal statute, the statutory penalties for which

were modified by’ certain provisions in the Fair Sentencing Act.” Id.

(quoting Section 404). Justice Thomas further explained that “‘statutory

penalties’ references the entire, integrated phrase ‘a violation of a Federal

criminal statute[]’ . . . [a]nd that phrase means ‘offense.’” Id. (internal

citations omitted). In other words, the phrase “statutory penalties” “directs

our focus to the statutory penalties for petitioner’s offense, not the statute or

statutory scheme.” Id. at 1863. Accordingly, Justice Thomas found although


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the particular defendant had indeed committed a crack offense, the First

Step Act did not modify the statutory penalties for his particular offense—

which triggered no mandatory minimum—and therefore he was ineligible

to be considered for resentencing. See id. at 1863–64 (opining that it “defies

common parlance to say that altering a different provision modified

subparagraph (C)”).7

       While the facts and merits of these two cases—which are not about

21 U.S.C. § 848, Mr. Walker’s statute of conviction—may seem tangential to

the issue of his eligibility, the dialectic between them guides the Court’s

decision today. Indeed, the Seventh Circuit has not yet had occasion to rule

on whether 21 U.S.C. § 848 is a covered offense for First Step Act purposes,

and moreover has not directly articulated how Terry impacted Shaw’s

embrace of a categorical, statute-of-conviction approach to determining

eligibility.8 The Court therefore additionally looks to the Fourth Circuit’s

       7Justice Sotomayor maintained that the Court’s reasoning and conclusion
demonstrated that “some people have been left behind” by the Fair Sentencing Act
and First Step Act. Id. at 1864 (Sotomayor, J. concurring). However, she agreed
with the Court’s statutory interpretation and diagnosed both the problem and the
solution as one of legislative drafting:
       [T]he bipartisan lead sponsors of the First Step Act have urged this
       Court to hold that the Act ‘makes retroactive relief broadly
       available to all individuals sentenced for crack-cocaine offenses
       before the Fair Sentencing Act.’ . . . Unfortunately, the text will not
       bear that reading. Fortunately, Congress has numerous tools to
       right this injustice.
Id. at 1868 (Sotomayor, J. concurring)
       8 Shaw is still good law: the Seventh Circuit recently cited it for its statute-
of-conviction categorical approach. United States v. Dawson, No. 22-1050, at 2 (7th
Cir. Jan. 20, 2023) (citing Shaw’s holding “that a court determining eligibility ‘needs
to look only at a defendant’s statute of conviction[]’” and affirming district court’s
finding that the defendant was not eligible for resentencing “[b]ecause Dawson
was convicted of offenses involving powder cocaine, the statutory penalties for
which were not modified by the Fair Sentencing Act.”).


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decision in United States v. Thomas, 32 F.4th 420 (4th Cir. 2022), in which the

appellate court faced head-on the question of whether a defendant who has

a CCE offense under 21 U.S.C. § 848 is eligible to be considered for

resentencing in light of Terry.

       The facts in Thomas resemble those at bar. There, the defendant’s

1994 indictment included a “CCE offense, under 21 U.S.C. §§ 848(a) and

(c),” which “incorporated by reference” twenty counts of “offenses for

distributing powdered and crack cocaine,” as well as a money laundering

count. Thomas, 32 F.4th at 422. He pleaded guilty to the CCE and money

laundering offenses and, at sentencing, was found responsible for

distributing 76 kilograms of crack. The CCE offense carried a statutory

imprisonment range of 20 years to life; considering the defendant’s offense

level of 42 and his criminal history category of III, his guideline sentence on

the CCE offense was 360 months to life. Id. He was sentenced to 420 months

of imprisonment on the CCE offense. Id. When he moved in 2019 for a

reduction in his sentence pursuant to Section 404 of the First Step Act, the

district court found his CCE conviction was not a covered offense and

denied his motion. Id. at 422–23. On appeal of the district court’s denial of

the defendant’s motion for reconsideration, the Fourth Circuit examined, as

“an issue of first impression, whether Thomas’s CCE conviction under




        Considering the reversal of Hogsett, see supra note 6, it appears that Shaw
can be reconciled with Terry as follows: the district court should look to the
statutory penalties associated with the statute that defines the particular offense of
which the defendant was convicted, and no further in the statutory scheme, to
determine First Step Act eligibility, but where the statutory penalties for the
defendant’s statute of conviction were unquestionably modified by the Fair
Sentencing Act, the defendant need not show his particular offense and drug
quantity themselves were subject to a lower statutory penalty range.

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§§ 848(a) and (c) qualifies as a “covered offense under the [First Step Act].”

Id. at 423.

       The appellate court held that—“pursuant to Terry”—the defendant’s

conviction was not a covered offense under the First Step Act, because the

Fair Sentencing Act did not modify the statutory penalties for an offense

under those particular subsections. Id. at 423, 427 (“Thomas’s statutory

penalty range for violating §§ 848(a) and (c) remained the same before and

after the [Fair Sentencing Act][.]”). Further, the Fourth Circuit rejected the

defendant’s arguments that he was eligible “because the Act modified the

penalties for § 848(b),” and the defendant “could have faced an enhanced

minimum life sentence [thereto] based on his indictment incorporating his

crack cocaine offenses.” Id. at 428.

       The appellate court acknowledged that judicial factfinding at

sentencing could have triggered a mandatory life sentence under § 848(b)—

in other words, that “since the [First Step Act] altered drug quantities

required to trigger the penalties for §§ 841(b)(1)(A) or 841(b)(1)(B), it also

modified the drug quantities required to sustain a conviction under

§ 848(b).” Id. at 428–29 (additionally noting that, if the defendant were

sentenced today, under Apprendi, 530 U.S. 466, the prosecution would have

to prove beyond a reasonable doubt that he possessed the increased amount

of cocaine necessary to receive this enhancement). Nonetheless, the Fourth

Circuit held that “the possibility that [the defendant] could have been

sentenced under § 848(b) is irrelevant because what matters for our [First

Step Act] inquiry is whether the Act modified the statutory penalties for his

offense.” Id. at 429 (citing Terry). It did not, and therefore “his offense, under

§ 848(a) and (c), is not a covered offense.” Id. at 430 (noting that “Terry

rejected our approach in Woodson, and, so, Thomas’s approach here is also


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foreclosed”); see also id. at 425–26 (contrasting Terry approach with that of

Woodson, which employed the same approach as Hogsett, 982 F.3d 463, to

determine First Step Act eligibility for unspecified-quantity crack cocaine

offenses under § 841(b)(1)(C)).

       To summarize, Terry, as interpreted by the Fourth Circuit in Thomas

and as it pertains to certain CCE offenses like Mr. Walker’s, stands for the

proposition that covered offenses under the First Step Act do not include

those offenses charged under a statutory scheme one part of which was

modified by the Fair Sentencing Act but which did not apply to the

defendant, or those that theoretically could have been proven against the

defendant.9

       This Court will adopt the Fourth Circuit’s reasoning in considering

Mr. Walker’s eligibility, and is compelled to reject Mr. Walker’s arguments

that his CCE conviction is a covered offense for First Step Act purposes.

First, as Terry counsels, the Court must look to whether the Fair Sentencing

Act modified “the statutory penalties for petitioner’s offense, not the statute




       9 At this time, it appears that the Fourth Circuit is the only circuit to have
ruled on the merits of this particular issue in a factually-analogous circumstance.
The Sixth Circuit faced the question in United States v. Chambers, where the
defendant’s § 848 CCE conviction was premised on his crack cocaine offenses, but
declined to answer it because the district court concluded it would not reduce the
defendant’s sentence even if his CCE offense were eligible. No. 21-1331, 2022 WL
612805 (6th Cir. Mar. 2, 2022), cert. denied sub nom. Marlowe Chambers v. United
States, No. 22-5470, 2022 WL 17408211 (U.S. Dec. 5, 2022). In January 2022, the
Tenth Circuit declined to disturb a district court’s finding that a defendant with
§ 848 CCE conviction premised on crack cocaine offenses was eligible for First Step
Act relief, specifically because “neither party challenge[d] this determination.”
United States v. Henderson, No. 21-3138, 2022 WL 259962, at *1 (10th Cir. Jan. 28,
2022); see also United States v. Palmer, 35 F.4th 841, 850 (D.C. Cir. 2022) (finding—
after the United States conceded the defendant’s eligibility—that a defendant’s
848(b) conviction was a covered offense).


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or statutory scheme.” Terry, 141 S. Ct. at 1863.10 This, of course, raises the

gateway question of what statutory offense Mr. Walker was actually

charged with and convicted of, since his Superseding Indictment references

21 U.S.C. § 848 broadly rather than any specific subsection. See ECF No. 621-

3 at 4; see also ECF No. 322 at 2 (Judgment, listing 21 U.S.C. § 848).

       Although Mr. Walker’s offense conduct was not framed in terms of

any particular subsection, it is clear based on the Superseding Indictment

and the sentencing proceeding that he was convicted and sentenced only

under 21 U.S.C. §§ 848(a) and (c). The Superseding Indictment’s language

tracks the elements of the definition of “continuing criminal enterprise” in

§ 848(c):

 [A] person is engaged in a                   Jerry Walker[] knowingly and
 continuing criminal enterprise if—           intentionally engaged in a
 (1) he violates any provision of [21         continuing criminal enterprise
 U.S.C. §§ 801–904] the punishment            [involving violations of 21 U.S.C.
 for which is a felony, and                   §§ 841(a)(1) and 846] . . . [which
                                              constituted] a continuing series
 (2) such violation is a part of a            of violations . . . undertaken by
 continuing series of violations              the defendant in concert with at
 [. . .]                                      least five other persons with
    (A) which are undertaken by               respect to whom the defendant
 such persons in concert with five            occupied      a     position    of
 or more other persons with respect           organizer,      supervisor,     or
 to whom such person occupies a               manager, and from which
 position organizer, a supervisory            continuing series of violations
 position, or any other position of           the      defendant       obtained
 management, and                              substantial income or resources.
    (B) from which such person                ECF No. 621-3 at 4.
 obtains substantial income or
 resources.

 21 U.S.C. § 848(c).



       10   See supra note 8 and accompanying text.

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Drug type and quantity are not referenced in Mr. Walker’s CCE offense as

charged.11

       It is true, as Mr. Walker argues, relying on Moore, 2020 WL 4748154,

that the Fair Sentencing Act did modify the statutory penalties for

violations of 21 U.S.C. § 841(a)(1) in the quantities specified in 21 U.S.C.

§ 841(b)(1)(A) and (B)—and § 848(b)(2)(A) incorporates § 841(b)(1)(B). ECF

No. 621 at 9–10. But to adopt Mr. Walker’s and the Moore court’s analysis

would require the Court to take the exact kind of entire-statutory-scheme

approach to determining eligibility that the Supreme Court roundly

rejected in Terry and that the Fourth Circuit rejected in Thomas when

presented with similar facts to those at bar. See Terry, 141 S. Ct. at 1863;

Thomas, 32 F.4th at 427. The Court will not, as urged by Mr. Walker,

construe § 848, as a whole, as his statute of conviction when it is clear he

was not penalized under the subsection of that statute that was modified

by the Fair Sentencing Act. Based on the foregoing, the Court cannot

conclude that Mr. Walker’s offense was subject to a statutory penalty that

was modified directly by the Fair Sentencing Act, which modified the

quantities of crack required to trigger certain mandatory minimum

penalties.

       To the extent Mr. Walker is arguing, as the defendant did in Thomas,

that he is eligible because he might have been subject to § 848(b)(2)(A)’s

quantity-driven penalties, the Court must reject this argument because it is

not tethered to the facts of this case nor is it legally dispositive. It is true that



       11The Seventh Circuit has clarified that § 848(b) sets out sentencing factors,
not additional elements that must be charged and found by a jury. See U.S. v. Smith,
223 F.3d 554, 566 (7th Cir. 2000); U.S. v. Robinson, 39 Fed. App’x 386, 388 (7th Cir.
2002). Nonetheless, for the reasons stated below, looking back at Judge Randa’s
sentencing decisions, it becomes clear Mr. Walker was not sentenced under 848(b).

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Judge Randa made findings at sentencing that Mr. Walker possessed 150

kilograms of cocaine—which would have been sufficient to satisfy

§ 848(b)(2)(A)’s requirement that the offense “involved at least 300 times

the quantity of a substance described in subsection 841(b)(1)(B).” Setting

aside that it is not clear how much of these 150 kilograms might have been

crack cocaine versus powder cocaine,12 it does not appear that Judge Randa

imposed or considered imposing a statutory mandatory life sentence

pursuant to § 848(b). Rather, as Mr. Walker himself states in his briefing, his

life sentence was a function of a total offense level of 46 and criminal history

category of IV on the CCE count. ECF No. 621 at 5–6. The fact that Mr.

Walker could have been subject to a penalty later modified by the Fair

Sentencing Act does not mean he was, in fact, subject to or sentenced in

accordance with such a penalty. See Thomas, 32 F.4th at 429.


       12 Drug type and quantity were not charged or subject to jury factfinding
for the § 848 offense because they did not need to be. See supra note 11. The
underlying drug possession charges in Counts Eight, Nine, and Ten—which Mr.
Walker points out and the Government acknowledges were proven with crack
cocaine evidence—totaled no more than four ounces. See ECF Nos. 632-2 at 11, 632-
4 at 2, and 632-5 at 14–15. Under Terry’s construction of § 841, this would not be
enough to make those underlying offenses First Step Act-eligible either. See also
United States v. Mansoori, 426 F. Supp. 3d 511, 516 (N.D. Ill. 2019) (“It is the statute
of conviction—and specific drug quantities found beyond a reasonable doubt—
that control eligibility under the First Step Act, not ‘actual conduct.’” (citations
omitted)). In any event, neither the individual drug types and weights in each of
the underlying possession offenses, nor the total drug weight, were charged or
submitted to the jury. See ECF No. 621 at 5; ECF No. 36.

        The Court appreciates that the Government has now, apparently,
acknowledged that pre-Apprendi it would not have included this information in
the charging document. ECF No. 641 at 3. Accordingly, pursuant to Apprendi, the
Court cannot now conclude that the offenses involved only powder cocaine. But
Mr. Walker’s position similarly asks the Court to make an impermissible post-trial
finding that his offenses involved an amount of crack cocaine that would be high
enough to trigger a penalty later modified by the Fair Sentencing Act. ECF No. 632
at 4; Thomas, 32 F.4th at 428–29.

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       Mr. Walker’s argument that he is eligible because crack cocaine was

part of the underlying factual basis for his prosecution—despite not being

explicitly charged with or convicted of a crack cocaine offense—also cannot

fly. The problem is not that offenses involving multiple drug types cannot

qualify for First Step Act consideration; they can. See United States v. Hudson,

967 F.3d 605, 610 (7th Cir. 2020). The problem is that this argument would

require the Court to evaluate his eligibility using a fact-based approach, not

a statute-of-conviction approach. United States v. Dawson, No. 22-1050, at 2

(7th Cir. Jan. 20, 2023) (citing Shaw’s holding “that a court determining

eligibility ‘needs to look only at a defendant’s statute of conviction[]’” and

affirming district court’s finding that the defendant was not eligible for

resentencing “[b]ecause Dawson was convicted of offenses involving

powder cocaine, the statutory penalties for which were not modified by the

Fair Sentencing Act.”). As Mr. Walker’s statute of conviction is not

otherwise First Step Act-eligible, the Court cannot give weight to the fact

that the Government used a small amount of crack cocaine among the

evidence used to prosecute him.

       The Court must, under Shaw, look only at the statute under which

Mr. Walker was convicted, rather than at the facts of his case. And under

Terry, the Court must look no further in the statutory scheme than Mr.

Walker’s individual statutory offense to determine his eligibility; the Court

may not look to provisions adjacent to his statute of conviction that the Fair

Sentencing Act did modify. Accordingly, it cannot be said that Mr. Walker’s

CCE conviction under 21 U.S.C. § 848—the sole remaining basis for his

confinement—carried a statutory penalty that was later modified by the

Fair Sentencing Act, which modified only 21 U.S.C. § 848(b) through its

incorporation of 21 U.S.C. § 841(b)(1)(B).


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        The Court thus concludes Mr. Walker is ineligible for resentencing

under Section 404 of the First Step Act. With this conclusion, the Court also

recognizes this is a somewhat incongruous result—did Congress really

intend for defendants convicted of § 848(b)’s “super” CCE offense and

subject to a mandatory life sentence to be eligible for resentencing, while

leaving those who were convicted of the more “basic” CCE offense in

§ 848(a) and (c) without a remedy? As higher courts have noted, the

disjunction here will likely require a legislative rather than a judicial fix. Cf.

Terry, 141 S. Ct. at 1864–68 (Sotomayor, J., concurring).

        4.2   Eligibility for Compassionate Release

              4.2.1   Procedural Exhaustion

        Mr. Walker appears to have met the procedural exhaustion

requirement. On August 14, 2020, he filed a request for compassionate

release with Warden F. Entzel at FCI Pekin. ECF No. 634-1. On September

1, 2020, Warden Entzel denied the request. Id. More than thirty days elapsed

from Warden Entzel’s receipt of the request to Mr. Walker’s filing both his

original motion for First Step Act sentence reduction on November 18, 2020

and his supplemental motion for compassionate release on December 15,

2020.

        The government initially appears to argue that Mr. Walker was

required to lodge an administrative appeal of Warden Entzel’s denial with

the Bureau of Prisons before seeking relief in the District Court. ECF No.

634 at 4. However, neither 18 U.S.C. § 3582(c)(1)(A) nor the implementing

regulations require this. “When an inmate’s request is denied by the

Warden . . . [t]he inmate may appeal the denial through the Administrative

Remedy Procedure,” but is not required to do so. 28 C.F.R. §571.63(a)




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(emphasis added).13 As the government appears to concede in its updated

response brief, ECF No. 637, by waiting to file until more than 30 days had

elapsed from the Warden’s receipt of his request, Mr. Walker has done all

that is required of him procedurally.

       4.2.2   Extraordinary and Compelling Circumstances

       The outbreak of COVID-19, together with underlying medical

conditions that place a defendant at “high risk” should he contract the

disease, may establish an extraordinary and compelling reason warranting

release. See, e.g., United States v. Gonzales, Case No. 13-CR-101-JPS, 2020 WL

4437154, at *4 (E.D. Wis. Aug. 3, 2020). In the past two years, the risk

calculus has changed significantly given the introduction of several very

effective and increasingly widely available vaccines that inoculate against

COVID-19. Importantly, on August 23, 2021, after rigorous and thorough

evaluation, the Food and Drug Administration approved the Pfizer-

BioNTech COVID-19 vaccine for all individuals aged 16 years and older.14

Other vaccines, including the Moderna vaccine, have been approved for

emergency use since late 2020, with great success.15

       It quickly became the law in the Seventh Circuit that, “for most

prisoners[,] the availability of vaccines for COVID-19 ‘makes it impossible

to conclude that the risk of COVID-19 is an “extraordinary and compelling”


       13See also Fed. Bureau Prisons, Program Statement 5050.50: Compassionate
Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§ 3582 and
4205(g) 15 (2019), https://www.bop.gov/policy/progstat/5050_050_EN.pdf.

       FDA News Release, U.S. Food & Drug Admin., FDA Approves First
       14

COVID-19 Vaccine (Aug. 23, 2021), https://www.fda.gov/news-events/press-
announcements/fda-approves-first-covid-19-vaccine.
        See U.S. Food & Drug Admin., Moderna COVID-19 Vaccine (updated
       15

Aug.      18,    2021),     https://www.fda.gov/emergency-preparedness-and-
response/coronavirus-disease-2019-covid-19/moderna-covid-19-vaccine.


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reason for immediate release.’” United States v. Sullivan, No. 20-2647, 2021

WL 3578621, at *2 (7th Cir. Aug. 13, 2021) (quoting United States v. Broadfield,

5 F.4th 801, 803 (7th Cir. 2021)); see also United States v. Burgard, No. 20-3210,

2021 WL 3781384, at *2 (7th Cir. Aug. 26, 2021); United States v. Eveland, No.

20-3449, 2021 WL 3414202, at *1 (7th Cir. Aug. 5, 2021); United States v.

Ugbah, 4 F.4th 595, 597 (7th Cir. 2021). Still though, the Seventh Circuit has

instructed district courts to take a deeper dive:

         We close with an observation about COVID-19 vaccines in the
         context of requests for compassionate release. The
         government points to our language in United States v.
         Broadfield, 5 F.4th 801, 803 (7th Cir. 2021), in which we said
         that the availability of vaccines had effectively eliminated the
         risks of COVID-19 to most federal prisoners. But that opinion
         was handed down before Omicron became the dominant
         variant in this country (with an increase in breakthrough
         infections among the fully vaccinated). And it included a
         safety valve for prisoners to show that they are unable to
         receive or benefit from a vaccine, or that they remain
         vulnerable to severe infection, notwithstanding the vaccine.
         Id. Recent events underscore the need for a district court’s
         opinion to leave us assured that it considered the applicant's
         individualized arguments and evidence.

United States v. Rucker, No. 21-2001, 2022 WL 610625, at *3 (7th Cir. Mar. 2,

2022).

         An individualized look at Mr. Walker’s case instructs that

compassionate release is not appropriate based on his age, underlying

health condition, and past COVID-19 diagnosis. While vaccination status

does not immediately eliminate an inmate from consideration for early

release, in Mr. Walker’s case it underscores that he is sufficiently protected

from the virus. There is currently one inmate case of COVID-19 at FCI Pekin




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and one staff case16; Rucker’s concern about emergent variants does not

seem to be playing out at Mr. Walker’s institution. The Court recognizes

that both his age, now 55–56 years old, and his past stroke place him in

demographics at higher risk for severe illness from COVID-19 should he be

reinfected.17 But this risk is more speculative than tangible, given his

vaccination status and the current low threat of infection at Pekin.

       In this lower-risk context, Mr. Walker has provided no additional

explanation (despite filing an additional reply brief, ECF No. 640) as to why

his age or past stroke make him especially “vulnerable to severe infection,

notwithstanding the vaccine.” Rucker, 2022 WL 610625, at *3 (emphasis

added); see also Broadfield, 5 F.4th at 803 (noting that a prisoner “who can

show that he is unable to receive or benefit from a vaccine” might still be

considered a good candidate for compassionate release “but, for the vast

majority of prisoners, the availability of a vaccine makes it impossible to

conclude that the risk of COVID-19 is an ‘extraordinary and compelling’

reason for immediate release”).

       Mr. Walker has not averred, for example, that his past stroke

continues to impair his immune system such that he cannot fully benefit

from the vaccine’s protection; he has only stated that the past stroke

continues to impair his communication abilities. ECF No. 632 at 16.

Similarly, his statement that he has “fluctuating blood pressure” does not


       16Fed.     Bureau         Prisons,         COVID-19            Coronavirus,
https://www.bop.gov/coronavirus/ (last visited Feb. 17, 2023).
       17 Ctrs. For Disease Control and Prevention, COVID-19 Risks and Vaccine
Information for Older Adults, https://www.cdc.gov/aging/covid19/covid19-older-
adults.html (last visited Feb. 17, 2023); Ctrs. For Disease Control and Prevention,
People with Certain Medical Conditions, https://www.cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/people-with-medical-conditions.html (last visited
Feb. 17, 2023).


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on its own establish that he remains especially vulnerable to COVID-19

complications more than any other vaccinated inmate—he does not specify

how often and to what extent his blood pressure fluctuates and, moreover,

what health risks this poses. Moreover, he does not state whether or why

these conditions cannot be managed from inside the prison setting. Mr.

Walker’s age and health circumstances therefore do not present

extraordinary and compelling reasons warranting compassionate release.

       4.3    Entitlement to Relief

       Based on the above determination that Mr. Walker is ineligible to be

considered for resentencing or compassionate release, the Court declines to

reach the matter of whether he in fact qualifies for either. The Court,

parenthetically, commends Mr. Walker on the admirable progress he seems

to have made toward post-sentencing rehabilitation. See supra Section 2.2.

5.     CONCLUSION

       Finding him ineligible for such relief, the Court must deny Mr.

Walker’s motion for sentence reduction pursuant to Section 404 of the First

Step Act, ECF No. 621, and his request for compassionate release, ECF No.

625. The United States’ motion to seal, ECF No. 638, will be granted, and

the relevant submission, ECF No. 639—which contains Mr. Walker’s

personal health information—will be sealed. Mr. Walker’s motion for an

extension of time to file his reply brief, ECF No. 631, will be denied as moot.

       Accordingly,

       IT IS ORDERED that Defendant Jerry Walker’s motion for a

reduction in his sentence pursuant to the First Step Act, ECF No. 621, be

and the same is hereby DENIED;

       IT IS ORDERED that Defendant Jerry Walker’s request for

compassionate release, ECF No. 625, be and the same is hereby DENIED;


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      IT IS FURTHER ORDERED that the United States’ motion to seal,

ECF No. 638, be and the same is hereby GRANTED; and

      IT IS FURTHER ORDERED that Defendant Jerry Walker’s motion

for an extension of time, ECF No. 631, be and the same is hereby DENIED

as moot.

      Dated at Milwaukee, Wisconsin, this 21st day of February, 2023.

                                BY THE COURT:



                                ____________________________________
                                J. P. Stadtmueller
                                U.S. District Judge




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